






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




STEPHEN W. JOHNSON AND REUBEN
R. RIOS, 


                            Appellants,


v.


CHELSEA B. ROGERS, 


                            Appellee.
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No. 08-10-00087-CV



Appeal from the


327th District Court


of El Paso County, Texas


(TC# 2003-3672)


MEMORANDUM  OPINION


	Pending before the Court is Appellants' unopposed motion for voluntary dismissal of this
appeal.  See Tex. R. App. P. 42.1(a)(1).  The motion is granted, and this appeal is dismissed.  Costs
of appeal are assessed against Appellants.  See Tex. R. App. P. 42.1(d).


						GUADALUPE RIVERA, Justice

December 8, 2010


Before Chew, C.J., McClure, and Rivera, JJ.

Chew, C.J., not participating


